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                        UNITED STATES DISTRICT COURT
                    FOR THE W ESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                      Case No. 2:11-cr-5
                                                        HON. R. ALLAN EDGAR
Justin K. Rivet,
                                       /

                         ORDER APPROVING AND ADOPTING
                          REPORT AND RECOMMENDATION


       The Court has reviewed the Report and Recommendation filed by the United

States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objections have been filed thereto within the time required

by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and recommendation of the Magistrate filed #52 6/7/2011, is

approved and adopted as the Opinion and Findings of this Court.

       2. Defendant Justin K. Rivet’s plea of guilty to Conspiracy to Distribute with Intent

to Distribute Oxycodone is accepted. Defendant Justin K. Rivet is adjudicated guilty.

       3. A decision of whether to accept the written plea agreement will be made at the

time of sentencing after the Court has had the opportunity to review the Pre-sentence

Investigation Report. See U.S.S.G. Ch. 6.

       SO ORDERED.

       Dated: 7/7/2011

                                                       /s/ R. Allan Edgar
                                                          R. ALLAN EDGAR
                                                 UNITED STATES DISTRICT JUDGE
